
*379OPINION.
Sea well:
The question presented is entirely one of fact, namely, the cost to the petitioner in 1915 of certain lots which were sold by it in 1922. The cost used by the Commissioner is the par value of the stock issued therefor, but we do not understand that it is contended that such par value is conclusive as to cost. The testimony of one of the incorporators was that it was first contemplated to make a much larger issue of stock, but that since there was no thought of selling stock, the incorporators, who were also the owners of the property, accepted the advice of counsel to issue a smaller amount of stock, which resulted in a saving in local tases. The testimony of three well qualified witnesses who were familiar with the property in 1915, as well as prior and subsequent to that time, was more than sufficient to satisfy us that the value of the lots in 1915, and of the stock given therefor, was not less than $36,900. While the sales shown prior to 1915 were made in 1912 and 1913, the uncontradicted testimony was to the effect that there was no decrease in these property values from that time to 1915. On the whole, we are satisfied that a cost to the petitioner in 1915 of $36,900 for the 103 lots sold in 1922 is fully substantiated.

Judgment 'will be entered under Bute 50.

